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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

DESIGNLYNX PRODUCTS LLC,

                                Plaintiff,
v.                                                        Case No. 1:24-cv-03575

                                                          Judge Thomas M. Durkin
THE INDIVIDUALS, PARTNERSHIPS AND                         Magistrate Judge Jeannice W. Appenteng
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                                Defendant.



                             DECLARATION OF XIN CHEN

          I, Xin Chen, declare as follows:

          1.     I am the Chief Executive Officer of Larryhot Trading Co., Ltd. (Larryhot), which

operates the internet store, mattch-better.com (the Store), identified in this lawsuit. In this capacity,

I have personal knowledge of the Store’s operation and sales and have access to Larryhot’s business

records.

          2.     I make this declaration based on my personal knowledge and after reviewing

Larryhot’s business records. If called as a witness, I can competently testify to the matters stated

herein.

          3.     Larryhot is incorporated and has its principal place of business in China. Larryhot

operates the Store exclusively in China. Larryhot has never owned or utilized an office, hired

employees, agents, or representatives, maintained bank accounts, owned assets or properties, or

qualified to do business in Illinois or any other part of the United States.

          4.     Neither the Store nor Larryhot has targeted Illinois residents with their

advertisements, nor directed any marketing efforts or materials at Illinois.




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       5.      Designlynx Products LLC (the Plaintiff) alleges the Store has infringed on its

trademark and copyrights. The Store’s operations team reviewed the complaint, the exhibits attached

thereto, and the snapshots of the Store’s products that Plaintiff provided as Exhibit A. After

reviewing these materials, the operations team conducted a diligent search of the Store’s sales records

for the allegedly infringing products. Specifically, the operations team accessed the backend data

system of the Store’s website and performed a thorough search using the Plaintiff’s brand name,

product descriptions as keywords, including “Carrier,” “club,” “DesignLynx”, “Golf Club Travel

Bag,” “golf,” “Portable Golf Club Carrier,” “Portable,” “SILO Golf Club Carrier,” “SILO,” and

“Transporter,” etc. The operations team also searched the alleged copyrighted works mentioned in

the complaint against the pictures in our backend data system. They then manually reviewed the

search results against the images on the Plaintiff’s website and the alleged copyrighted works to

identify any listings matching by appearance or use of similar brand keywords.

       6.      Exhibit B contains complete and accurate sales records of the search results,

maintained in the ordinary course of Larryhot’s business. Exhibit B shows that the Store has made

no sales of the allegedly infringing products in Illinois, but only a single sale to Florida, resulting in

total revenue of $26.58. The buyer’s name was “Vladmir SLO-FTE Karen” and shipping address

was “1834 Gunn Highway, Odessa, Florida 33556.”

       7.      The Store initially listed the allegedly infringing products for sale on or around March

19, 2023. The Store’s operations team, responsible for monitoring products on rival e-commerce

websites, identified similar products on those websites and found multiple suppliers of the alleged

products. Several different brands and sellers are marketing similar products. Exhibit C.

       8.      The Store was not aware, nor had any reason to be aware, that it was potentially

infringing any copyrights, as it did not believe that any company had exclusive rights to the products

alleged in the complaint. The Store has not attempted to market or pass off its products as those of




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the Plaintiff or any other party.

       9.      When listing the images shown in Exhibit A, the operations team used the images

available from the suppliers or other sources which did not contain the “Rival and Revel” or “SILO”

marks. The Defendant and the Store did not remove the alleged “Rival and Revel” or “SILO” marks

from those images. Nor did they know or have reason to know that those marks were removed or

altered from the images, or that distribution of the alleged products would induce, enable, facilitate,

or conceal an infringement of the alleged marks.

       10.     The Store has one PayPal account for the allegedly infringing products,

Rnalemoa@outlook.com, with a total frozen amount of $238,288.85 due to the asset restraints

imposed by this litigation.

       11.     The Store still plans to continue business operations. However, the existing restraints

significantly hinder the Store’s liquidity and ability to maintain normal operations.

       12.     Larryhot was notified of the current litigation through e-mail and was not served

through the central authority of China in accordance with the Hague Convention on the Service

Abroad of Judicial and Extrajudicial Documents.

       13.     Upon notice of the current litigation, Larryhot has permanently removed the listings

of the allegedly infringing products. While Larryhot is moving to challenge the Preliminary

Injunction Order (Dkt. 40), Larryhot assures the court it will not relist the allegedly infringing

products for sale until further ordered by the court.




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